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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 15-81095-CIV-KAM

  Alma-Mater Collections, Inc.,

  Plaintiff,

  v.

  Crossroads Financial, LLC,

  Defendant,
  _________________________________/

  Crossroads Financial, LLC,

  Defendant/Counterclaim Plaintiff,

  v.

  Alma-Mater Collections, Inc.,
  Plaintiff/Counterclaim Defendant,
  and Jenna Lee Kimsey Meharg and
  DressU, LLC,

  Third-Party Defendants.
  __________________________________/

                ORDER AFFIRMING REPORT AND RECOMMENDATION

          THIS CAUSE comes before the Court upon Defendant=s Motion for Attorney’s Fees and

  Costs (DE 302).

          THIS MATTER was referred to the Honorable William Matthewman, United States

  Magistrate Judge, Southern District of Florida. A Report and Recommendation, dated

  November 30, 2023, has been filed, recommending that the district court award Crossroads

  Financial, LLC (“Crossroads”) $167,370.50 in attorney’s fees (DE 308).
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         The Court has conducted a de novo review of the entire file, the record herein and notes

  that no objections have been filed.

         Accordingly, it is hereby ORDERED AND ADJUDGED that:

         1)      The Report (DE 308) is AFFIRMED.

         2)      Defendant=s Motion for Attorney’s Fees and Costs (DE 302) is GRANTED in the

                 amount of $167,370.50.

         3)      The Court will separately issue Judgment.

         DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 2nd day of January, 2024.




                                                             KENNETH A. MARRA
                                                             United States District Judge
